     Case 3:12-cr-02665-BEN    Document 33    Filed 09/11/12   PageID.83                        Page 1 of 1
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UNITED           OF AMERICA,                 CASE NO. 12CR2665 -BEN

                       Plaintiff,
               vs.                           JUDGMENT OF DISMISSAL
VANESSA MARIE ARELLANO,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice: or

    the          has dismissed the case for unneces                   delay; or

~       Court has granted the mGtion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has         waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of       offense(s) as charged           the Indictment:

    21 USC 952 AND 960 - IMPORTATION OF METHAMPHETAMINE; 18 USC 2                                                                        AIDING

    AND ABETTING

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 9/11/12
                                              William McCurine, Jr.
                                              U.S. Magistrate Judge
